111 F.3d 128
    Union Township Cab, Inc., Kenneth Gruberv.Township of Union, Union Township Committee, Anthony E.Russo, Edward James Roberts, Gregory A. Muller, Thomas J.Strapp, Mark J. Bellotti, Jerome D. Petti, Worrall CommunityNewspapers, Inc.,d/b/a Union Leader, Alec Schwartz, John Does, 1-10
    NO. 96-5371
    United States Court of Appeals,Third Circuit.
    Mar 27, 1997
    
      Appeal From:  D.N.J. ,No.92cv02877 ,
      Barry, J.
    
    
      1
      Affirmed.
    
    